                             Case 2:18-cv-01022-PLD Document 1 Filed 06/01/18 Page 1 of 47
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JS 44 (Rev. 06/17)           }'"',
                                                           JS                        CliiL COVER SHEET                                                                Q·. \Co ~a ~'01
The JS 44 civil cover sheettlhd the i!lfo~ation ~~f!t.~ilJ,e.d herein:nelli'ler ~lace nor supplei:nent the fiHng and service ofp!eadin&s or other papers as required by law, except as
provided by local rules oN.(µrt .. Th1sform; ·approved by the Judicial Conference of the Umted States m September 1974, 1s requ1red for the use of the Clerk of Court for the
purpose of initiating the civi'l docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                                       DEFENDANTS
Etta Calhoun, et al.                                                                                                  Invention Submission Corporation d/b/a 'Invent
                                                                                                                      Communications', et al.
     (b)   County of Residence of First Listed Plaintiffj                                                               County of Residence of First Listed Defendant
                             (EXCEPT JN U.S. PLAINT/FF CASES)                                                                                  (INU.S. PLAINTIFF CASES
                                                                                                                        NOTE:          IN LAND CONDEMNATION CASES,                           us it'THE LOCATION OF
                                                                                                                                       THE TRACT OF LAND INVOLVED.

     ( C) Attorneys (Firm Name, Address, and Telepho                                                                     Attorneys (If Known)
Levan Legal LLC
Two Bala Plaza, Bal~ Cynwyd PA 19004
610-660-7781, Richard A. Levan and Jon-Jorge Aras
II. BASIS OF JURISJfICTION (Placean "X"inOneBoxOnly)                                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in one Box for Plaintiff
                                                                                                                                                                                                                                                       \
                                                                                                                   (For Diversity Cases Only)                                                   and One Box for Defendant)
0 l    U.S. Government                       ~ 3      Federal Question                                                                      PTF             DEF                                                PTF      DEF
          Plaintiff                                     (U.S. Government Not a Party)                         Citizen of This State          0 l             0       I     Incorporated or Principal Place       0 4     0 4
                                                                                                                                                                             of Business In This State

0 2 U.S. Government                                   Diversity                                               Citizen of Another State          0 2          0      2      Incorporated and Principal Place                              05            05
           Defendant                                    (Indicate Citizenship ofParties in Item Ill)                                                                          of Business In Another State

                                                                                                              Citizen or Subject of a           0 3          0      3      Foreign Nation                                                06            06
                                                                                                                Foreign Coun

IV.    NA~~~~~,w~z~~I.~s=~~:;:;;~~:.r                                                                              8lRF•El:JJUR:
0 II 0 Insurance                             PERSONAL INJURY                       PERSONAL INJURY            0 625 Drug Related Seizure             0 422 Appeal 28 USC 158                               0 375 False Claims Act
0 120 Marine                             0   310 Airplane                        0 365 Personal Injury -              of Property 21 USC 881         0 423 Withdrawal                                      0 376 Qui Tam (31 USC
0 130 Miller Act                         0   315 Airplane Product                      Product Liability      0 690 Other                                        28 USC 157                                      3729(a))
0 140 Negotiable Instrument                       Liability                      0 367 Health Care/                                                                                                        0 400 State Reapportionment
0 150 Recovery of Overpayment            0   320 Assault, Libel &                      Pharmaceutical                                                                                                      0 410 Antitrust
      & Enforcement of Judgment                   Slander                              Personal Injury                                               0 820 Copyrights                                      0 430 Banks and Banking
0 151 Medicare Act                       0   330 Federal Employers'                    Product Liability                                             0 830 Patent                                          0 450 Commerce
0 152 Recovery of Defaulted                       Liability                      0 368 Asbestos Personal                                             0 835 Patent - Abbreviated                            0   0 Deportation
       Student Loans                     0   340 Marine                                Injury Product                                                            New Drug Application                        4~ Racketeer Influenced and
      (Excludes Veterans)                0   345 Marine Product                        Liability                                                     0 840 Trademark                                             Corrupt Organizations
0 153 Recovery of Overpayment                     Liability                       PERSONAL PROPERTY                         ~   •B0R                                ' •                                      ~'lfy;
                                                                                                                                                                                                           0 4 0 Consumer Credit
      of Veteran's Benefits              0   350 Motor Vehicle                   0 370 Other Fraud            0 710 Fair Labor Standards            0      861 HIA (1395f!)                                0 4 Cable/Sat TV
0 160 Stockholders' Suits                0   355 Motor Vehicle                   0 371 Truth in Lending                Act                          0      862 Black Lung (923)
0 190 Other Contract                             Product Liability               0 380 Other Personal         0   720 Labor/Management              0      863 DIWC/DIWW (405(g                                                       Exchange
0 195 Contract Product Liability         0   360 Other Personal                        Property Damage                 Relations                    0      864 SSID Title XVI                                                     890 Other Statutory Actions
0 196 Franchise                                  Injury                          0 385 Property Damage        0   740 Railway Labor Act             0      865 RSI (405(g))                                                     0 891 Agricultural Acts
                                         0   362 Personal Injury -                     Product Liability      0   751 Family and Medical                                                                                        0 893 Environmental Matters
                                                 Medical Mal ractice                                                   Leave Act                                                                                                0 ~95 Freedom of Information
           EAL'PR0PBR1Mi¥>~\;'           •            G irS.:\;~.:i                                           0   790 Other Labor Litigation       hie""~,.""'"'~"'~'"O:"'b"'M"'Y"'ti:::t""'"•<"'••""·•~"•"'••="'A"'Mi"'1k..t~I       Act
0   210 Land Condemnation                0 440 Other Civil Rights                                             0   791 Employee Retirement
0   220 Foreclosure                      0 441 Voting                                                                 Income Security Act                                                                  0 899 Administrative Procedure
0   230 Rent Lease & Ejectment           0 442 Employment             0 510 Motions to Vacate                                                                                                                    Act/Review or Appeal of
0   240 Torts to Land                    0 443 Housing/                     Sentence                                                                                                                             Agency Decision
0   245 Tort Product Liability                 Accommodations         0 530 General                                                                                                                        0 950 Constitutionality of
0   290 All Other Real Property          0 445 Amer. w/Disabilities - 0 535 Death Penalty                    ,1~~GR\lirIO:                                                                                       State Statutes
                                                    Employment                     Other:                     0 462 Naturalization Application
                                         0 446 Amer. w/Disabilities - 0            540 Mandamus & Other       0 465 Other Immigration
                                               Other                  0            550 Civil Rights                   Actions
                                         0 448 Education              0            555 Prison Condition
                                                                      0            560 Civil Detainee -
                                                                                       Conditions of
                                                                                       Confinement

v.         I GIN (Place an "X" in One Box Only)
~I                       0 2 Removed from                         0 3        Remanded from             0 4 Reinstated or           0    5 Transferred from           0 6 Multidistrict                                     0 8 Multidistrict
                             State Court                                     Appellate Court               Reopened                         Another District                 Litigation -                                      Litigation -
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                                                  CJte the' U.S. Civil Statute,..pnder ..y)lich yoµ a~e fili.P.l.\ (llq_np.t >J1t;jprisdictional statutes unless diversity):
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     . CAUSE OF ACTI
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VII. REQUESTED IN                                       HECK IF THIS IS A CLASS ACTION
     COMPLAINT:                                        UNDER RULE 23, F.R.Cv.P.

VIII. RELATED CASE(,
      IF ANY                                                                                                                                             DOCKET NUMBER
DATE
June 1, 2018
FOR OFFICE USE ONLY
                                                                                                                                                                                                       JUN ·-
    RECEIPT#                      AMOUNT                                                                                                JUDGE                                         MAG.JUDGE
                                    Case 2:18-cv-01022-PLD Document 1 Filed 06/01/18 Page 2 of 47
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                    •\\
                                                                         UNITED STATES DISTRICT COURT

                    ..   ~
                                                                   FO)JlfE EASTERN DISTRICT OF PENNSYLVANIA

                                                                      ~· i             DESIGNATION FORM
                                                                                                                                                 18                  2307
                               (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
                                         · ·                              -2351 O Whispering Willow, Spring, Texas 77373.
Address of P l a i n t i f f : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
Address of Defendant:                  217 Ninth Street, Pittsburgh, Pennsylvania 15222

Place of Accident, Incident or Transaction:                                                                             Pennsylvania


RELATED CASE, IF ANY:

Case N u m b e r : - - - - - - - - - - - - - -                                Judge:-------------                                         Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

 L      Is this case related to property included in an earlier numbered suit pending or within one year
        previously terminated action in this court?
                                                                                                                                             YesD                   No~
2.      Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                                    YesD                   Nocti'
        pending or within one year previously terminated action in this court?




                                                                                                                                                                   ::~
3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                                        YesO
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                                     YesO
       case filed by the same individual?

I certify that, to my knowledge, the within case                                             related to any case now pending or within one year previously terminated action in
this court except as noted above.

DA TE:                       J1AI\ '-     "   J 0 IJ                                                                                                 ?)f '1i     1
                                                                                                                                                        Attorney l.D. #(if applicable)


CIVIL: (Place a ...Jin one category only)

A.             Federal Question Cases:                                                                  B.     Diversity Jurisdiction Cases:

01.       Indemnity Contract, Marine Contract, and All Other Contracts                                  01.           Insurance Contract and Other Contracts
0      2. FELA                                                                                          O       2.    Airplane Personal Injury
0      3. Jones Act-Personal Injury                                                                     O       3.    Assault, Defamation
0      4. Antitrust                                                                                     0       ~     Marine Personal Injury
                                                                                                        0
B
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       5. Patent
       ~  Labor-Management Relations
       ~ Civil Rights
                                                                                                        0
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                                                                                                                5.
                                                                                                                ~
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                                                                                                                      Motor Vehicle Personal Injury
                                                                                                                      Other Personal Injury {Please specify): - - - - - - - - -
                                                                                                                      Products Liability
0      8. Habeas Corpus                                                                                 0       8.    Products Liability - Asbestos

B
0
       9. Securities Act(s) Cases
       l~ Social Security Review Cases
      ,IL All other Federal Question Cas!.112. USC §
                                                                                                        0       ~     All other Diversity Cases
                                                                                                                      (Please s p e c i f y ) : - - - - - - - - - - - - - - - - -

          (Please specify):               ::lo · · · 297



                                                                                         ARBITRATION CERTIFICATION
                                                               (The effect of this certification is to remove the case from eligibility for arbitration.)

                             Jon-Jorge Aras                              counsel of record or prose plaintiff, do hereby certify:


               Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
               exceed the sum of$150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought

            June 1, 2018
DATE: _ _ _ _ _ _ _ _ _ __                                                                                           Ar.
                                                                                                             ·o Se Plaintiff
                                                                                                                                                              314967
                                                                                                                                                       Attorney I.D. #(if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.RC.P. 38.

Civ. 609 (512018)


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                             Case 2:18-cv-01022-PLD Document 1 Filed 06/01/18 Page 3 of 47


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 i[J                                                               IN THE UNITED STATES DISTRICT COURT
                                                                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
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                                                           .CASE MANAGEMENT TRACK DESIGNATION FORM
    :'
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          In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
          plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
          filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
          side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
          designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
          the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
          to which that defendant believes the case should be assigned.
          SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
          (a) Habeas Corpus -Cases brought under 28 U.S.C. § 2241 through§ 2255.                                          ( )
          (b) Social Security - Cases requesting review of a decision of the Secretary of Health
              and Human Services denying plaintiff Social Security Benefits.                                              ( )
          (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.                  ( )
          (d) Asbestos - Cases involving claims for personal injury or property damage from
              exposure to asbestos.                                                                                       ( )

          (e) Special Management- Cases that do not fall into tracks (a) through (d) that are                         (}
              commonly referred to as complex and that need special or intense management by                           ./;
              the court. (See reverse side of this form for a detailed explanation of special
              management cases.)                                                                                          (
          (f) Standard Management - Cases that do not fall into any one of the other tracks.                              ( )



          Date
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                                                                         Attorney-at-law
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              lid . '60 · 111 \                                                                  Ric.~.,J ~lt1tan· L1J-       l
          Telephone                                                      FAX Number              E-Mail Address


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                                  UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF PENNSYLVANIA
---------------------------------------------------------------------X

Etta Calhoun, On Behalf of Herself and All Other
Persons Similarly Situated

                                   Plaintiff,

        -against-                                                         Complaint — Class Action

                                                                          Jury Trial Demanded
Invention Submission Corporation d/b/a InventHelp,
Technosystems Consolidated Corp., Technosystems
Service Corp., Western Invention Submission Corp.,
Universal Payment Corporation, Intromark Incorporated,
Innovation Credit Corp., Robert J. Susa, Thomas Frost, P.A.,
Above Board Drafting, Inc., John Doe Companies 1-10;
John Doe Individuals 1-10,

                                   Defendants.

----------------------------------------------------------------------X

                                     CLASS ACTION COMPLAINT

        Plaintiff, on behalf of herself and all others similarly situated, makes the following

allegations on personal knowledge as to her own actions and upon information and belief:

                                       NATURE OF THE ACTION

        1.       This class action arises out of a deceptive and fraudulent invention promotion

scam that has bilked thousands of aspiring inventors and entrepreneurs into paying millions of

dollars to Defendants for invention promotion services that Defendants do not, and never intend

to, provide.
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       2.       Defendants herein are part and parcel of a sophisticated and grand scheme that

has fraudulently enriched themselves at the expense of innocent and often naive aspiring

inventors.

       3.       Defendants’ ubiquitous television and internet commercials, featuring a cartoon

image of a caveman sitting on a rock, banging a wheel with a chisel, promise consumers that

InventHelp has contracts with thousands of companies that are looking for new ideas. The

commercials state, “We keep your idea confidential”; “We explain every step of the invention

process”; “We create professional materials representing your idea and submit it to companies

who are looking for new ideas”; “We have more than 9,000 companies who have agreed to

review ideas, in confidence,” among other representations. In truth and in fact, InventHelp is not

in the business of helping aspiring inventors develop and monetize their inventions. Rather,

InventHelp is in the business of taking consumers’ money with fraudulent promises and

oftentimes phony “companies looking for new ideas.”

       4.       Defendant InventHelp is the conduit through which all Class Plaintiffs are

defrauded. Whilst InventHelp, Universal Payment Corporation, Intromark Inc., and the other

named Defendants hold themselves out to be independent companies, they are one and the same,

and are parts of an integrated fraudulent enterprise. The schemes, trickery, and fraud set forth

herein are universal and indistinguishable, notwithstanding the titles of the entities with which

Class Plaintiffs believe they are dealing.

       5.       Defendants craft their polished marketing materials (including television

advertisements, internet ads, web pages and telemarketing calls) to create the impression that

Defendants have successfully helped other inventors monetize their inventions, and thus that



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Defendants are reliable and reputable. Defendants’ offices are decorated with supposed

successful inventions, often labeled, “As Seen On TV,” in order to further create the impression

that they are a legitimate enterprise. In truth and in fact, Defendants are a fraud and fail to fulfill

almost every promise they make to consumers.

       6.       Defendants’ multi-tiered conspiracy preys upon aspiring inventors’ high hopes

and dreams. It is cleverly constructed to avoid liability and monetary judgment by employing an

intricate web of seemingly independent entities – invention promotion companies, private money

lenders, patent attorneys, licensing and distribution companies, and manufacturing companies –

that act in concert to defraud Class Plaintiffs.

       7.       Defendants employ sophisticated and crafty mechanisms to escape liability,

including the insertion of fraudulent clauses into their various contracts designed to extinguish

would-be private litigants’ rights.

       8.       After luring Class Plaintiffs in with slick television and internet advertising,

Defendants assure each and every consumer who inquires of their services that Plaintiffs’ ideas

are unique, patentable, and/or carry terrific potential for immense profit.

       9.       Defendants then offer loans, research, patenting, invention promotion, marketing,

manufacturing, licensing and distribution services to individual consumers located throughout

Pennsylvania and the United States.

       10.      In exchange for fees ranging between $700 and $30,000, Defendants represent

that they will obtain patents and produce models, press releases, and infomercials, among other

things, to promote Class Plaintiffs’ inventions.




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       11.     Then, because Class Plaintiffs often do not have at hand the thousands of dollars

‘necessary’ to make their dreams come true, they are offered generous loans by “independent

private money lender” Universal Payment Corporation.

       12.     This “independent private money lender” is not independent at all – it operates

under the same ownership and control as InventHelp, and is an indispensable arm of the

fraudulent scheme described herein.

       13.     Class Plaintiffs then agree to pay the steep initial fees out of pocket (often selling

personal property, remortgaging their homes, or borrowing from family members) or to loan the

money from Defendant Universal Payment Corporation. In the meantime, Defendants make off

with Class Plaintiffs’ money and do little to nothing to fulfill their end of the bargain, stringing

Class Plaintiffs along with false promises and boilerplate “analyses” in order to extract more

money from them for additional services (which they do not and never intend to provide), and

then disappearing and dodging calls as soon as Defendants have all the money in hand.

       14.     After months or years of silence, Defendants reappear to Class Plaintiffs,

sometimes in the guise of distribution, marketing or manufacturing companies, and other times

as representatives of InventHelp or Intromark Incorporated, Plaintiffs’ “licensing agents,” telling

Class Plaintiffs that they’ve discovered Class Plaintiffs’ inventions, that they have purchase

orders, licensing agreements, and/or retail distributors at the ready, and that they just need an

additional $5000-$10,000 in order to make those final arrangements. After scamming more

money from Plaintiffs, they disappear without a trace.




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       15.     Fraud permeates all of the dealings and contracts between Class Plaintiffs and all

Defendants herein, from start to finish. Defendants’ enterprise as a whole is fraudulent, and

Defendants fraudulently induce Class Plaintiffs to sign various contracts.

       16.     Defendants also fraudulently misrepresent the actual content of the contracts

between Defendants and Class Plaintiffs, thereby tricking Class Plaintiffs into signing documents

that state different terms and conditions than those represented by Defendants (fraud-in-the-

factum).

       17.     Before consumers have the opportunity to meaningfully review the lengthy,

complicated contracts at issue, Defendants use high-pressure tactics, routinely telling consumers

that “today is the very last day” of a “special” or “promotion” that will save consumers hundreds

or thousands of dollars, but that in order to get these savings, consumers must sign immediately,

before leaving the office. These statements are false and fraudulent – there are no such

“specials” or “promotions” that are about to expire.

       18.     Defendants’ actions are particularly egregious because many of their customers

are of modest means. Defendants’ representatives employ high pressure tactics to push Class

Plaintiffs to hand over tens of thousands of dollars and sign fraudulent contracts, falsely

representing to Class Plaintiffs the actual content of those contracts, that if Class Plaintiffs sign

immediately (without time to properly review the contracts) they will receive substantial

discounts pursuant to “specials” that are about to expire, that Class Plaintiffs’ proposed

inventions are one-of-a-kind and/or carry terrific potential for profit, and that Class Plaintiffs

likely stand to make ‘millions’ or ‘billions’ if they engage Defendants’ services.




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       19.     In truth and in fact, Defendants do not (nor ever intend to) fulfill the bulk of the

promises they make to Plaintiffs, instead making off with their money and leaving Plaintiffs high

and dry.

       20.     Defendants also employ deceptive and fraudulent tactics by using threats,

intimidation and harassment to collect debts. In order to induce Class Plaintiffs to sign contracts,

Defendants represent that if Class Plaintiffs can no longer make payments, then there is “no risk”

– the contracts will simply expire with no further performance on either end. However, if and

when Class Plaintiffs stop paying, Defendants dog Class Plaintiffs, threaten to “destroy”

Plaintiffs’ credit and threaten to put liens on their homes and other personal property.

       21.     As detailed infra, Defendants’ actions violate Pennsylvania consumer protection

statutes and give rise to liability pursuant to a variety of common law claims, including fraud,

breach of contract, and breach of implied covenant of good faith and fair dealing, among others.

                                         THE PARTIES

       22.     Plaintiff Etta Calhoun (“Ms. Calhoun” or “Plaintiff”) is an individual who is a

citizen of the State of Texas, residing at 23510 Whispering Willow, Spring, Texas 77373.

       23.     The entities and individuals listed in paragraphs 24-33 have engaged in and have

conspired to engage in a pattern of fraudulent activity, have each committed numerous criminal

acts as part of their scheme to defraud Class Plaintiffs, have each participated in the operation or

management of a fraudulent and criminal enterprise, and have each acted with actual authority

and/or apparent authority on behalf of each and every Defendant herein.

       24.     Defendant Invention Submission Corporation does business under the names

‘InventHelp,’ and ‘Innovation Communications,’ among others, and is located in the same office,



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and shares identical employees, with InventHelp, Technosystems Consolidated Corporation,

Western Invention Submission Corporation, Technosystems Service Corporation, and Intromark

Incorporated (collectively, “InventHelp Defendants”). Moreover, as detailed supra, consumers

who sign contracts with InventHelp and/or Western InventHelp sign an explicit

acknowledgement that InventHelp, Invention Submission Corp., Western InventHelp, and

Technosystems Service Corporation will all be performing services under the contracts,

regardless of the particular contract’s corporate signatory. All contracts signed by any

InventHelp Defendant are ultimately signed by Angela Beauchamp on behalf of each and every

entity.

          25.   Defendant Invention Submission Corporation d/b/a/ InventHelp and d/b/a/

Innovative Communications, is a Pennsylvania corporation with its principal place of business

located at 217 Ninth Street, Pittsburgh, Pennsylvania 15222, and is registered to do business

under the name InventHelp. InventHelp has an office located at 1853 William Penn Way, #330,

Lancaster, Pennsylvania 17603. InventHelp advertises on its nationwide website that it has a

Philadelphia office. On March 21, 2018, Inventhelp published an approximately 1,000-word

article and advertisement in “Philadelphia Weekly” advertising its services.

          26.   Defendant Technosystems Consolidated Corporation identifies its “web URL” as

“www.inventhelp.com.” It is a Delaware corporation with its primary place of business located

at 217 Ninth Street, Pittsburgh, Pennsylvania 15222. Upon information and belief, Defendant

Technosystems Consolidated Corporation is a parent company of InventHelp and Invention

Submission Corporation. Bloomberg identifies the “web URL” of Technosystems Consolidated

Corporation as “www.inventhelp.com.” Upon information and belief, many proposed Class



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Plaintiffs who sign contracts with InventHelp, Universal Credit Corp., Intromark, and/or Western

InventHelp are actually charged on credit card statements by Technosystems Consolidated

Corporation.

       27.     Defendant Technosystems Service Corporation is a Delaware Corporation with a

primary place of business located at 217 9th Street, Pittsburgh, PA 15222. Individuals who

contract with InventHelp and/or Western InventHelp sign an explicit acknowledgement that

Technosystems Service Corporation will: “engage in performing invention development services

under this Contract.” Upon information and belief, Technosystems Service Corporation is

affiliated with InventHelp, Invention Submission Corporation and other Defendants herein and is

used in Defendants’ perpetration of the scheme described herein.

       28.     Defendant Western Invention Submission Corporation (“WISC”) is a North

Carolina Corporation with a principal place of business located at 217 9th Street, Pittsburgh, PA

15222. Individuals who contract with WISC sign the following acknowledgement: “[WISC] is

the name of the corporation contracting to perform the Invention development services. WISC is

operating under its registered name, Western InventHelp. Western Inventhelp’s principal

business address is: 217 Ninth Street, Pittsburgh, Pennsylvania 15222. There are no parent,

subsidiary or affiliated companies that will engage in performing invention development services

under this Contract other than INVENTION SUBMISSION CORPORATION, 217 Ninth Street,

Pittsburgh, Pennsylvania, 15222, an affiliate, and TECHNOSYSTEMS SERVICE CORP., 217

Ninth Street, Pittsburgh, Pennsylvania, an affiliate.”

       29.     Defendant Universal Payment Corporation is a Pennsylvania Corporation with a

principal place of business listed at 903 Liberty Avenue, 3rd Floor, Pittsburgh, PA 15222. Upon



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information and belief, all individuals who finance their contracts with InventHelp and/or

Western InventHelp do so through this entity, which is not independent and is affiliated with

InventHelp. Additionally, upon information and belief, many individuals who sign contracts

with InventHelp and/or WISC are charged by Universal Payment Corporation, even though

many of these individuals did not sign contracts with Universal Payment Corporation.

       30.     Defendant Robert J. Susa is President of Defendants Invention Submission

Corporation, Technosystems Consolidated Corporation, Technosystems Service Corporation,

Western Invention Submission Corporation, Innovation Communications, Intromark, Inc., and

InventHelp. Upon information and belief, Mr. Susa is an individual who is a citizen of

Pennsylvania, residing at 86 Waterfront Drive, Pittsburgh, Pennsylvania 15222.

       31.     Defendant Abrams Gentile Entertainment LLC is listed on documents obtained by

Plaintiff’s counsel as having a principal place of business at 244 West 54th Street, 9th Floor, New

York, New York. The existence of that actual entity is questionable. However, Abrams Gentile

Entertainment, Inc. is a New York corporation with a principal place of business at 11

Middleneck Road, Suite 200, Great Neck, New York, 10021.

       32.     Defendant Thomas Frost is a patent attorney licensed to practice in the State of

Florida, with a primary place of business at 6600 Fourth Street North, Suite 102, Saint

Petersburg, Florida 33702.

       33.     Defendant Above Board Drafting, Inc., is a Florida corporation with a principal

place of business at 933 Oleander Way South, Suite 4, South Pasadena, Florida 33707.




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       34.     Defendants ‘John Doe’ Individuals and ‘John Doe’ Companies exercise complete

domination over all the entities named herein and use the entities and such domination to commit

the fraud described herein.

                                             JURISDICTION

       35.     This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

Sections 1331, 1332(d)(2)(A). This Court has original jurisdiction over this civil action as it

arises under the Constitution, laws, or treaties of the United States, specifically the American

Inventors Protection Act of 1999, 35 U.S.C. § 297. Alternatively, this Court has original

jurisdiction because the amount in controversy exceeds the sum or value of $5,000,000,

exclusive of interest and costs, and is a class action in which a member of the class of plaintiffs is

a citizen of a state different from the defendants.

       36.     Venue is proper pursuant to 28 U.S.C. Section 1391.

       37.     Exercise of jurisdiction over Defendants is proper. Defendants are subject to

general jurisdiction in the Commonwealth of Pennsylvania because all Defendants list their

principal places of business as located in Pennsylvania, regularly transact extensive business

activities in Pennsylvania, and are licensed and/or authorized to do business in Pennsylvania.

Moreover, Defendants are subject to specific jurisdiction in Pennsylvania because they have

transacted and continue to transact business in Pennsylvania, have engaged in tortious conduct in

Pennsylvania, and there is a substantial nexus between Defendants’ purposeful availment of the

Pennsylvania forum and Plaintiff(s)’ claims.

       38.     Defendants have significant contact with Pennsylvania such that they are subject

to the personal jurisdiction of this Court. This Court’s assertion of jurisdiction over Defendants



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is consistent with the notions of fair play and substantial justice. One or more Defendants

purposefully availed themselves of the benefits of Pennsylvania such that they could reasonably

anticipate being hauled into Court here, or otherwise directed their conduct toward this

Pennsylvania such that the effects of their damages were occasioned upon Plaintiff(s) within

Pennsylvania.

                                   FACTUAL BASIS FOR CLAIMS

       39.      During 2012, Plaintiff Etta Calhoun believed that she had created a new

invention, bed linens printed with words of Christian scripture. She named her invention, “The

Word of God Bedding.”

       40.      Plaintiff saw various television spots advertising the services of the company

InventHelp. Plaintiff was struck by the advertisement’s cartoon image of a caveman sitting on a

rock, banging a wheel with a chisel.

       41.      On or about January 2012, Plaintiff contacted InventHelp by telephone to inquire

about their services.

       42.      An InventHelp representative answered the telephone, took Ms. Calhoun’s name,

telephone number, and address, and promised that someone from the InventHelp team would

return her call shortly. Upon information and belief, these same representations were made to all

Class Plaintiffs who called InventHelp.

       43.      On or about February 18, 2012, Plaintiff met with InventHelp at their offices

located at 11200 Broadway, Suite 2743, Pearland, Texas 77584 to inquire about whether her idea

was appropriate for their services. Upon entering InventHelp’s office, Plaintiff was given the

impression that InventHelp had successfully helped other inventors, and thus that they are a



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reliable and reputable company. Defendants’ offices were decorated with supposed successful

inventions, often labeled, “As Seen On TV,” in order to further create the impression that the

entity is a legitimate enterprise. Upon information and belief, contrary to its purposeful

impression, the Pearland, Texas office, and most InventHelp offices throughout the country, are

merely rented space and not permanent InventHelp locations.

       44.     At that meeting, Ms. Calhoun was assured by an InventHelp representative, Renee

Hopes, that her idea was not only viable, but that it was original and presented an excellent

opportunity for profit. Upon information and belief, these statements were knowingly false

when made and/or were made with reckless disregard for their truth or falsity.

       45.     Upon information and belief, Plaintiff’s idea was not novel, non-obvious, or

otherwise unavailable to the public, and several companies already manufactured and sold

products similar to Plaintiff’s idea.

       46.     Upon information and belief, all Class Plaintiffs were told that their proposed

inventions were novel, marketable, and/or presented excellent opportunities for profit during

their initial meetings with Defendants.

       47.     At that meeting, the InventHelp representative told Ms. Calhoun that she had a

great “add on” idea for Ms. Calhoun’s invention. In addition to linens with words of Christian

scripture, the pillowcases could have a “listening device” that would play audio recordings of

words of scripture. Ms. Calhoun agreed that this “add on” was a great idea.

       48.     Upon information and belief, InventHelp did not suggest the listening device

because it would add to the marketability and/or profitability of Ms. Calhoun’s invention.

Rather, unbeknownst to Ms. Calhoun, InventHelp suggested the listening device because the



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addition of that device to Ms. Calhoun’s idea would render it potentially patentable, and would

thereby increase the amount of money that Ms. Calhoun would pay.

       49.     Upon information and belief, this strategy is employed by all InventHelp

representatives when they are presented an idea that they believe may not be patentable.

       50.     Indeed, by letter dated June 18, 1999 to the U.S. Patent & Trademark Office from

a patent attorney who was employed by an InventHelp-affiliated patent law firm, the attorney

stated that he was taught “how to make a ‘non-patentable’ invention ‘patentable’” by virtue of

alterations to the nature and structure of consumers’ proposed inventions without consumers’

consent.

       51.     Ms. Calhoun was overjoyed that a seemingly experienced, reputable and

successful company, InventHelp, was impressed with her idea. She signed the “Basic

Information Package Agreement” and agreed to pay $780 for a “Basic Information Package

Report.”

       52.     As part of that contract, Ms. Calhoun signed “Disclosures.” required by

InventHelp. One of those disclosures states, “The total number of customers who have

contracted with InventHelp in the past 5 years is 8,095. . . The total number of clients known to

have received more money than they paid InventHelp for submission services as a direct result of

these services is 38.”

       53.     However, another “Affirmative Disclosure Statement” signed and dated by Ms.

Calhoun on that very same day, February 12, 2018, states, “THE TOTAL NUMBER OF

CUSTOMERS WHO HAVE CONTRACTED WITH THE INVENTION DEVELOPER SINCE

1985 IS 53,037. THE TOTAL NUMBER OF CUSTOMERS KNOWN BY THIS INVENTION



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DEVELOPER TO HAVE RECEIVED, BYVIRTUE OF THIS INVENTION DEVELOPER’S

PERFORMANCE, AN AMOUNT OF MONEY IN EXCESS OF THE AMOUNT PAID BY

THE CUSTOMER TO THIS INVENTION DEVELOPER IS 0.”

       54.        At that meeting, InventHelp did not inform Plaintiff of, inter alia, the accurate

number of customers it had in the last five years, the number of positive and negative

evaluations, the accurate number of customers who received a net profit from inventions, the

accurate number of customers who received license agreements, or the names and addresses of

invention promotion companies with whom InventHelp or its officers were affiliated in the last

ten (10) years.

       55.        At that meeting, Renee told Ms. Calhoun that InventHelp would partner with her

for $9,950.00 for their “Submission Services” to help her market her invention.

       56.        That amount was shocking and costly to Ms. Calhoun and she declined. She

agreed only to the $780 Basic Information Package Report.

       57.        At that time, Ms. Calhoun could not afford the $780 payment.

       58.        The InventHelp representative told her that InventHelp had a ‘relationship’ with a

“private money lender” and conveniently had a “Retail Installment Contract” from Defendant

Universal Payment Corporation on hand. That contract identifies the “Seller” as InventHelp, the

“Buyer” as Ms. Porter, and the “Assignee” as Universal Payment Corporation.

       59.        However, Ms. Calhoun’s first payment pursuant to that contract was charged to

“Techno InventHelp.”

       60.        After February 18, 2012, InventHelp repeatedly called Ms. Calhoun to urge her to

move forward with submission services. Ms. Calhoun again met with Renee Hopes



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approximately one month later, on or about March 15, 2012, and was presented with a

“Submission Agreement” for $9,950.00 at the meeting. However, the price was so

overwhelmingly high to Ms. Calhoun that she left the meeting without committing to the

contract.

          61.   Thereafter, Ms. Calhoun was again repeatedly called by InventHelp.

          62.   Upon information and belief, these calls came from InventHelp’s Pennsylvania

office.

          63.   Ms. Calhoun did not want to speak with anonymous sales agents. Instead, she

tried calling Renee Hope, with whom she had met. However, she was told that Renee was no

longer with the company. Throughout the process, Ms. Calhoun was repeatedly told that certain

representatives with whom she spoke or met had left, and was juggled from person to person.

Upon information and belief, this is common practice of Defendants.

          64.   Ms. Calhoun eventually connected with a sales representative named Heather.

Heather spoke with Ms. Calhoun frequently and told her that “The Word of God Bedding” idea

was brilliant, that she had never seen anything like it, that she would buy it, and that if Ms.

Calhoun moved forward with InventHelp she would have a great chance of profiting from her

invention. Ms. Calhoun was extremely apprehensive about spending close to $10,000, a

tremendous amount of money, and repeatedly asked Heather’s opinion. Heather at all times

unequivocally told her to go forward. Upon information and belief, Heather’s representations on

behalf of InventHelp were false or made with reckless disregard for the truth.

          65.   On or about April 2012, Ms. Calhoun received the “Basic Information Package”

and “Preliminary Patentability Search and Opinion” for which she contracted from InventHelp.



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       66.     The Preliminary Patentability Search and Opinion is signed by Defendant Thomas

Frost, a patent attorney, and is presented on his letterhead.

       67.     Ms. Calhoun was led to believe that the Patentability Opinion was drafted by an

objective and independent registered patent attorney. Upon information and belief, Defendant

Frost receives all or a substantial percentage of his business from Defendants, and is not

independent nor objective.

       68.     Upon information and belief, the Patentability Opinion provided to Ms. Calhoun

is nothing but boilerplate drivel, meant to appear professional, and is purposefully confusing so

that unsuspecting inventors will proceed with expensive “Submission Services” with InventHelp.

       69.     Upon information and belief, many Patentability Opinions provided to InventHelp

customers are not even researched or drafted by Mr. Frost or any other patent attorney. Instead,

upon information and belief, InventHelp sends the searches to an entity called “Above Board

Drafting, Inc., a Florida corporation. Upon information and belief Above Board Drafting

performs the patent searches, drafts the ‘Patentability Opinions’ on attorney letterhead, and then

sends hundreds of the Patentability Opinions to patent attorneys engaged by InventHelp for the

purpose of fraudulently representing that those attorneys prepared the opinions and searches.

       70.     Upon information and belief, Mr. Frost had first-hand knowledge of hundreds of

customers referred by InventHelp that did not receive utility patents and complained that

InventHelp is a fraud. Mr. Frost, an attorney with a fiduciary duty to Ms. Calhoun, informed her

of none of these facts.

       71.     Independently, the “Basic Information Package” received by Ms. Calhoun is also

constructed to appear professional and well thought out, when, in truth and in fact, it is nothing



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more than loosely-related cut and pasted information, placed into a hard-bound book with Ms.

Calhoun’s name on the first page.

       72.      Although purporting to be an end in itself, in truth and in fact the Basic

Information Package is part of Defendants’ ploy to convince consumers that their inventions are

marketable, and con them into signing contracts for the more expensive Submission Services.

       73.      Upon information and belief, the ‘Basic Information Package’ is merely the first

step in InventHelp’s scheme to draw aspiring inventors into spending tens of thousands of dollars

on additional services. InventHelp did not disclose this, nor did InventHelp disclose that the

purpose of their next meeting would not be to review the book, but rather to “upsell” Ms.

Calhoun on to another, more costly and involved, package.

       74.      Following receipt of the “Basic Information Package,” Ms. Calhoun was again

contacted by InventHelp. The professed reason for those calls was to set up a meeting to go over

the Basic Information Package. In truth and in fact, the real reason for those calls and

subsequent meeting was to “upsell” Ms. Calhoun on the costly Submission Services Agreement.

       75.      On or about August 2, 2013, Ms. Calhoun met with InventHelp representative Joy

Hinson at 2002 Timberloch Place, Suite 200. The Woodlands, Texas 77380. Ms. Hinson told Ms.

Calhoun that InventHelp was wrapping up a special offer, and that it was on or about the last day

to receive a $1000 discount for “Submission Services.”

       76.      At this meeting, Ms. Porter expressed concern about the high cost of these

services.

       77.      Ms. Hinson pressured Ms. Calhoun. She also explained that Ms. Calhoun could

use her contract with Universal Payment Corporation to finance the submission services.



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       78.     Ms. Porter signed a “Submission Agreement” with Western InventHelp for $8990.

Upon information and belief, all “Submission Agreements” with InventHelp and/or Western

InventHelp are identical.

       79.     That Submission Agreement states, “WESTERN INVENTION SUBMISSION

CORPORATION (WISC) is the name of the corporation contracting to perform the invention

development services. WISC is operating under its registered name, Western InventHelp. There

are no parent, subsidiary or affiliated companies that will engage in performing invention

development services under this Contract except for INVENTION SUBMISSION

CORPORATION, an affiliate, and TECHNOSYSTEMS SERVICE CORPORATION, an

affiliate. Company is also affiliated with INTROMARK INCORPORATED, which attempts to

market inventions where substantial interest has been expressed in accordance with paragraph

1.N above.”

       80.     The Submission Agreement states, among other things, that “InventHelp will

prepare a New Product Submission Brochure, which shall include a description of the invention,

benefits and features, a 3D graphic or other illustration in color, Standard Industrial

Classification (SIC) codes and suggested distribution channels.”

       81.     The Submission Agreement states, “InventHelp maintains a Data Bank of

companies that have registered to receive our clients’ submission materials on an ongoing basis. .

. . InventHelp will submit Client’s invention, product or idea to Data Bank companies in an

attempt to obtain a good faith review as set forth in more detail below.”




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       82.     The Submission Agreement states, “Companies registered in our Data Bank have

agreed to review submission materials submitted to them by InventHelp in confidence and have

signed confidentiality and non-use agreements.”

       83.     The Submission Agreement states, “DataBank companies that we have attempted

to match with your invention will be sent a copy of Client’s New Product Submission Brochure.

This is how Data Bank companies may encounter, receive or see your invention and are then in a

position to decide whether to conduct a good faith review.”

       84.     The Submission Agreement states, “Client agrees that InventHelp shall have the

exclusive right to submit the idea, invention or product which is the subject of this Agreement,

for the sole purpose of attempting to obtain a good faith review and reviewing any interest

expressed including the right to use designs, models, patents issued and pending . . . .”

       85.     The August 8, 2013 Submission Agreement discloses: “THE TOTAL NUMBER

OF CUSTOMERS WHO HAVE CONTRACTED WITH THE INVENTION DEVELOPER

SINCE 1985 IS 56,345. THE TOTAL NUMBER OF CUSTOMERS KNOWN BY THIS

INVENTION DEVELOPER TO HAVE RECEIVED, BY VIRTUE OF THIS INVENTION

DEVELOPER’S PERFORMANCE, AN AMOUNT OF MONEY IN EXCESS OF THE

AMOUNT PAID BY THE CUSTOMER TO THIS INVENTION DEVELOPER IS 0.”

       86.     That statement directly contradicts the disclosure signed by Ms. Calhoun

approximately one year earlier, on February 18, 2012, which stated that over the past 5 years,

“the total number of clients known to have received more money than they paid InventHelp for

submission services as a direct result of these services is 38.”




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        87.     A Submission Agreement signed in 2016 obtained from a potential Class Member

states, “From 2013-2015, we signed Submission Agreements with 6,076 clients. As a result of

our services 153 clients have received license agreements for their products, and 27 clients have

received more money than they paid us for these services.”

        88.     Submission Agreements signed in 2018 obtained from potential Class Members

state, “from 2015-2017, we signed Submission Agreements with 6,564 clients.” Those

agreements state, “We charge $975 for a Basic Information Package. We charge from $11,900 to

$16,900 for our marketing, licensing or promotional services.”

        89.     Submission Agreements signed in 2018 obtained from potential Class Members

state, “The total number of customers who have contracted with InventHelp in the past 5 years is

10,272.”

        90.     Submission Agreements signed in 2018 obtained from potential Class Members

state, “The total number of customers to have received a net financial profit as a direct result of

invention promotion services provided by InventHelp is unknown. However, the total number of

clients known to have received more money than they paid InventHelp for submission services

as a direct result of these services is 61.”

        91.     By letter dated April 23, 2014, Ms. Calhoun received a letter from InventHelp

stating that “Your New Product Submission Brochure was mailed to the companies on the

enclosed report listed as “Data Bank.” Attached to that letter is a list of 20 “Data Bank”

companies.

        92.     Upon information and belief, this list of Data Bank companies, and Data Bank

company lists sent to all InventHelp customers, are shams. Some of the companies do not exist



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and are purposefully misspelled to resemble actual existing companies that have no relationship

with InventHelp (for example, listing the company as ‘Inc.’ instead of ‘LLC’). Other “Data

Bank” companies claim to have no relationship with InventHelp, and have not signed any

confidentiality agreements, or any agreements whatsoever, with InventHelp. Upon information

and belief, some of the companies are sham companies and/or are affiliated with InventHelp.

       93.     Perhaps most disturbingly, some of the entities listed as Data Bank companies by

Invent Help have in fact agreed to review invention ideas. However, upon information and

belief, in the rare instances that these companies express interest in an invention and attempt to

contact InventHelp to proceed further, InventHelp does not return the calls. These companies are

provided no contact with InventHelp other than the 1-800 customer numbers advertised to the

public on InventHelp’s television commercials, and calls to these numbers on behalf of

companies that actually want to proceed are often not returned.

       94.     Upon information and belief, InventHelp has no infrastructure to deal with

companies that actually want to proceed with ideas. Rather, InventHelp’s business model is to

take consumers’ money with absolutely no intention to follow up with any outside company that

may be interested in a prospective inventor’s idea.

       95.     On August 2, 2013 Ms. Calhoun also signed an “Intromark Proposal” with

Intromark Incorporated. All agreements described herein were signed in Pittsburgh by “Angela

Beauchamp” on behalf of the various entities.

       96.     Upon information and belief, all individuals who sign Submission Agreements

with InventHelp also sign “Intromark Proposals” with Intromark at the very same time, signed

by the same InventHelp representatives. During the meetings at which these documents are



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signed, the InventHelp representative makes no distinction between the companies, and

purposefully gives the impression that all contracts form a single, integrated whole. All such

contracts are ultimately signed by Angela Beauchamp on behalf of all entities, with no

distinctions made between the entities.

         97.    The Intromark contract states, “Intromark has agreed to attempt to market

inventions, ideas or products only where substantial interest has been expressed, or where in

Intromark’ s sole discretion it wishes to undertake said marketing effort.”

         98.    The Intromark contract states, “Client further agrees that Intromark during the

term of this Proposal shall have the exclusive right to negotiate, and to execute contracts on

Client’s behalf for the sale and licensing of the idea, invention or product.”

         99.    Thus, the Intromark contract creates a fiduciary relationship between the client,

here, Ms. Calhoun, and Intromark.

         100.   By letter dated August 26, 2014, InventHelp sent Ms. Calhoun a “copy of your

completed Virtual Invention Presentation (VIP) which is a DVD containing 3-D renderings” of

Ms. Calhoun’s Invention. InventHelp represented that “We will send your VIP to any

InventHelp Data Bank that may specifically request it.”

         101.   Ms. Calhoun was extremely distressed when she viewed the DVD. It was

shoddily-done, and, to her dismay, did not present her “Word of God Bedding” in an attractive

light.

         102.   Ms. Calhoun immediately called InventHelp to express her disappointment and

concern. An InventHelp representative assured Ms. Calhoun that the “Word of God Bedding”




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was purposefully presented in this way because, otherwise, “someone could steal your idea.”

Upon information and belief, this was a lie.

       103.    Throughout this entire process, up to and including the present, Ms. Calhoun has

been dutifully making monthly payments to Universal Payment Corporation. While there were

certain times where she felt financially constrained and was unable to make payments, even then,

she would send $10 or $15 to Universal Payment Corporation monthly because she wanted to be

“honest” and “keep [her] end of the bargain.”

       104.    At various points between 2013 to date, Universal Payment Corporation contacted

Ms. Calhoun by telephone and mail, telling her to pay amounts owing on the contracts and

threatening that if she fails to do so, she will be reported to Credit Agencies and her credit will be

otherwise damaged and/or destroyed.

        105.    In sum, all “efforts” made on Ms. Calhoun’s behalf by Defendants in order to

help her “commercialize her invention” are lies and scams. Defendants, contrary to their written

and verbal representations, have no meaningful interest or investment in fulfilling their

contractual promises; rather, their business model is based upon receipt of Submission Service

fees, and nothing more.

       106.    Upon information and belief, Defendants’ acts have the same or similar purposes

and results (i.e. carry out a scheme to defraud Plaintiff and Class Members of money),

participants (i.e. Defendants), victims (i.e. the Plaintiff and Class Members), methods of

commission (i.e. using television, telephone, in-person meetings, and internet networks to falsely

represent to Plaintiff and Class Members that the inventions were patentable and profitable), and

are not isolated events.



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       107.    Upon information and belief, the acts described herein amount to continued

fraudulent activity and were committed by Defendants in furtherance of their continuing scheme

to defraud Plaintiff and Class Members.

       108.    Moreover, the scheme described herein is a continuing operation and poses the

threat of continued criminal activity, preying upon unsuspecting victims. Defendants’ websites

and television commercials continue to tout their invention promotion services to lure potential

inventors to enter into contracts with Defendants for fraudulent invention promotion services.

       109.    Upon information and belief, Defendants defrauded other victims before, during

and after they defrauded Plaintiffs. The foregoing demonstrates that there is no obvious

terminating goal or date for the fraudulent activity; the foregoing acts are part of the Defendants’

ongoing, regular way of doing business; and Defendants operate a long-term association that

exists for criminal purposes (e.g., fraudulently inducing potential inventors to enter into contracts

that obligate the inventors to pay money to Defendants).

       110.    Defendants’ conduct employs the use of the public telephone, television, U.S.

mail, and internet networks.

       111.    The injuries to Plaintiffs and the members of the Class were caused by

Defendants’ scheme of fraudulently inducing Plaintiffs and Class Members, through false

promises, misrepresentations, and omissions, to enter into contractual agreements.

       112.    Furthermore, most of the misrepresentations and omissions alleged herein are

contained on Defendant’s websites.




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                                   CLASS ACTION ALLEGATIONS

       113.    Plaintiff brings this suit individually and as a class pursuant to Federal Rule of

Civil Procedure 23, the requirements of such are met with respect to the class as defined below.

       114.    The Class consists of: All persons and entities in the United States who purchased

goods and/or services from Defendants who were contacted by Defendants from 2010 to present.

       115.    Subject to additional information obtained through further investigation and

discovery, the foregoing definition may be expanded or narrowed by amendment.

       116.    Excluded from the Class are Defendants; any parent, subsidiary, or affiliate of

Defendants; any entity in which any Defendant has or had a controlling interest or which

Defendants otherwise control or controlled; any officer, director, legal representative,

predecessor, successor, or assignee of a Defendant.

       117.    This action is properly maintainable as a class action.

       118.    The Class is so numerous that joinder of all individual members in one action

would be impracticable. Submission Agreements signed in 2018 obtained from potential Class

Members state, “the total number of customers who have contracted with InventHelp in the past

10 years is 10,272.” Submission Agreements signed in 2018 from potential Class Members

state, “from 2015-2017, we signed submission agreements with 6,564 clients.” The exact number

of class members can be determined by appropriate discovery.

       119.    Plaintiffs’ claims are typical of the claims of the Class Members in that they all

paid for services from Defendants and were injured by the same wrongful conduct. The

violations of the statutory and common laws and the relief sought herein are common to Plaintiff

and the members of the class.



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       120.   By decision dated February 21, 2018, the Supreme Court of Pennsylvania in

Danganan v. Guardian Protection Services unequivocally held that a non-Pennsylvania resident

may bring suit under the Pennsylvania Unfair Trade Practices and Consumer Protection Law

against a Pennsylvania Commonwealth-headquartered business based on transactions that

occurred outside of Pennsylvania. Thus, a nationwide class is appropriate here.

       121.   There are questions of fact and law common to all Class Members that

predominate over questions which may affect individual members. These include the following:

       a. Whether Defendants’ advertisements and business practices violate the Pennsylvania

           Unfair Trade Practices and Consumer Protection Law, 73 P.S. Section 201-1, et seq.;

       b. Whether Defendants’ acts described herein, and developed upon further discovery,

           constitute a mode and practice that pervades the entire company and/or enterprise,

           including promulgating policies and/or instruction to use common fraudulent

           practices;

       c. Whether Defendants are responsible for the conduct alleged herein, which was and is

           uniformly directed at all consumers who purchased Defendants’ products and

           services;

       d. Whether Defendants’ misconduct set forth herein demonstrates that Defendants

           engaged in unfair, fraudulent, and/or unlawful business practices with respect to the

           advertising, marketing and sale of their products and services;

       e. Whether Defendants made false and/or misleading statements to the Class and the

           public concerning the legitimacy of their goods and services;




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       f. Whether Defendants’ false and misleading statements were likely to deceive the

           public;

       g. Whether Defendants had a pattern or practice of making fraudulent and false

           representations to consumers in order to induce them to sign contracts;

       h. Whether Defendants had a pattern or practice of making fraudulent and false

           representations to consumers regardless of whether consumers’ ideas were likely to

           receive a utility patent;

       i. Whether Defendants created an enterprise by working in concert to defraud Plaintiff

           and Class members;

       j. Whether Defendants engaged in a conspiracy to work in concert to defraud Plaintiff

           and Class members;

       k. Whether Defendants made fraudulent misrepresentations and misleading statements

           with the intent to mislead consumers;

       l. Whether Defendants breached the covenant of good faith and fair dealing by

           committing the acts described herein;

       m. Whether Plaintiffs and the Class have sustained damages and, if so, the proper

           measure thereof; and

       n. Whether Defendants should be enjoined from the actions described herein.

       122.    Plaintiff is an adequate Class representative because her interests do not conflict

       with the interest of the Class Members she seeks to represent; her claims are common to

all members of the Class and are based upon the same facts (practice or course of conduct)

undertaken by Defendants’ with respect to all Class Members and are based upon the same legal



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theories; plaintiff has a strong interest in vindicating her rights. The Class Members’ interests

will be fairly and adequately protected by Plaintiffs and counsel. Defendants have acted in a

manner generally applicable to the Class, making relief appropriate with respect to Plaintiff and

the Class Members.

        123.   Plaintiff has retained counsel experienced and competent in the prosecution of

complex class action litigation and intends to vigorously prosecute this action. Plaintiff and her

attorneys are familiar with the subject matter of this action and have already expended

substantial hours ascertaining and investigating the allegations herein.

        124.   A class action is superior to other available means for the fair and efficient

adjudication of the claims of the Class members. Common issues of law and fact predominate, as

the primary focus is Defendants’ deceptive and misleading practices.

        125.   The proposed class is (i) the surest way to fairly and expeditiously compensate so

large a number of injured persons that constitute the Class; (ii) to keep the courts from being

inundated by thousands of repetitive cases; and (iii) to reduce transaction costs so that the injured

class members can obtain the most compensation possible. Accordingly, class treatment presents

a superior mechanism for fairly resolving similar issues and claims without repetitious wasteful

litigation.

        126.   Importantly, individual Class Members here lack resources to undertake the

burden and expense of individual prosecution of these claims. Individualized litigation increases

the delay and expense to all parties and multiplies the burden on the judicial system presented by

the complex legal and factual issues of this case. It also presents a potential for inconsistent or

contradictory judgments. In contrast, the class action device presents far fewer management



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difficulties and provides the benefits of a single adjudication, economy of scale, and

comprehensive supervision by a single court on the issue of Defendants’ liability.

       127.    Without a class action, Defendants will likely retain the benefit of their

wrongdoing and will continue a course of action which will result in further damages to Plaintiff

and Class Members.

                                     CLAIMS FOR RELIEF

                                         COUNT I
                                  Against All Defendants
        (Violation of the American Inventors Protection Act of 1999, 35 U.S.C. § 297)

       128.    Plaintiffs reallege and incorporate herein by reference each and every foregoing

paragraph of this Complaint as if set forth in full.

       129.    Defendants are “invention promoters” as defined by the American Inventors

Protection Act of 1999, 35 U.S.C. § 297 (“AIPA”).

       130.    The “Basic Information Package Agreements” and “Submission Agreements” are

contracts for invention promotion services as defined by the AIPA.

       131.    Plaintiff and Class Members are customers as defined by the AIPA.

       132.    Defendants contracted with Plaintiff and Class Members to provide them with

invention promotion services as defined by the AIPA.

       133.    Defendants violated the AIPA by not providing the proper disclosures to Plaintiff

and Class Members prior to entering into contracts for invention promotion services. As detailed

supra, Defendants’ purported disclosures are inaccurate, internally inconsistent, and fraudulent.




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        134.    Defendants violated the AIPA by making materially false and fraudulent

statements to Plaintiff and Class Members, and are therefore liable for all damages proscribed by

the AIPA.

        135.    By reason of the foregoing, Defendants are liable to Plaintiff and the Class for

actual damages and statutory trebling of those damages, together with punitive damages,

attorneys’ fees, costs, and interest

                                             COUNT II
                                       Against All Defendants
         (Violations of Pennsylvania Unfair Trade Practices And Consumer Protection Act,
                                73 P.S. Section 201-1, et seq.)

        136.    Plaintiffs reallege and incorporates herein by reference each and every foregoing

paragraph of this Complaint as if set forth in full.

        137.    Section 201-2(3) of the Pennsylvania Unfair Trade Practices and Consumer

Protection Act (“UTPCPA”) defines “trade” and “commerce” to mean the “advertising, offering

for sale, sale or distribution of any services and any property, tangible or intangible, real, person

or mixed, and any other article, commodity, or thing of value wherever situate, and includes

trade or commerce directly or indirectly affecting the people of this Commonwealth.”

        138.    Defendants have engaged in trade and commerce in the Commonwealth of

Pennsylvania and nationally by marketing, offering for sale, and selling invention promotion

services directly to consumers of the Commonwealth and nationwide.

        139.    In the course of advertising, marketing, promotion, offering for sale and selling

invention promotion services Defendants have represented that they have helped other inventors

monetize their inventions, that they are affiliated with and have confidentiality agreements with




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DataBank companies, and that their list of DataBank companies is a legitimate and useful

mechanism for Plaintiffs seeking to market their inventions, when, in truth and in fact, many

DataBank companies do not exist, do not have relationships with Defendants, and/or are not

appropriate companies to manufacture, license and/or market Plaintiff consumers’ proposed

inventions.

        140.    Defendants’ acts and practices are likely to confuse or mislead consumers acting

reasonably under the circumstances into believing that the Defendants are a legitimate enterprise,

and that Defendants’ services are tailored to help inventors monetize their inventions. In truth

and in fact, Defendants’ services are tailored to extract as much money from Plaintiffs as

possible, have little to no utility for Plaintiffs, and are in fact a fraud.

        141.    InventHelp fraudulently targets minorities and women through the use of

misleading websites, including www.black-inventor.com and www.women-inventor.com. These

websites, although purporting to be educational pages, are in fact InventHelp advertisements.

        142.    Defendants often offer to give Class Plaintiffs “discounts” that are “about to

expire.” If Class Plaintiffs request time to think about signing the contracts and/or making the

substantial monetary commitment, Defendants inform them that the discount will be revoked if

they do so. Upon information and belief, these discounts and specials are shams.

        143.    If and when Class Plaintiffs express questions or concerns about forfeiting any

legal rights that they may have, Defendants’ deceptively point out provisions in the purported

contracts that appear to retain Class Plaintiffs’ rights, while hiding those provisions that seek to

vanquish those same rights; Defendants also falsely state that the contracts are “no risk” when in

fact they are not.



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       144.    Defendants have therefore engaged in unfair and deceptive acts and practices in

violation of 73 Pa. Cons. Stat. Section 201-2(4).

       145.    The acts and practices described supra and below constitute violations of

UTPCPL:

               (a) Passing off goods or services as those of another;

               (b) Causing likelihood of confusion or of misunderstanding as to the source,

                   sponsorship, approval, or certification of goods or services;

               (c) Causing likelihood of confusion or of misunderstanding as to affiliation,

                   connection or association with, or certification by, another;

               (d) Using deceptive representations or designations of geographic origin in

                   connection with goods and services;

               (e) Representing that goods or services have sponsorship, approval,

                   characteristics, ingredients, uses, benefits or quantities that they do not have or

                   that a person has sponsorship, approval, status, affiliation or connection that

                   he does not have;

               (f) Representing that goods are original when they are in fact not;

               (g) Representing that goods or services are of a particular standard, quality or

                   grade, or that goods are of a particular style or model, when they are of

                   another;

               (h) Advertising goods or services with intent not to sell them as advertised;

               (i) Advertising goods or services with intent not to supply reasonably expectable

                   public demand;



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                (j) Making false or misleading statements of fact concerning the reasons for,

                   existence of, or amounts of price reductions;

                (k) Failing to comply with the terms of written guarantees, warranties, and

                   contracts;

                (l) Knowingly misrepresenting that services are needed when they are not

                   needed;

                (m)Making solicitations for sales of goods or services over the telephone without

                   first clearly, affirmatively and expressly stating the seller, purpose of the call,

                   and nature of the goods and services;

                (n) Using a contract, form or other document related to consumer transactions that

                   seeks to waive consumer’s right to assert a legal defense to an action; and

                (o) Engaging in any other fraudulent or deceptive conduct which creates a

                   likelihood of confusion or of misunderstanding.

       146.     Defendants have repeatedly and persistently engaged in material deceptive or

misleading consumer-related business practices, i.e., advertising, publishing and selling

invention promotion, patent, manufacturing, licensing and consultation services that they do not

(nor intend to) provide, misrepresenting the viability and potential profitability of Plaintiffs’

proposed inventions, and lying and/or coercing Plaintiffs into signing fraudulent contracts.

       147.     The implementation, publication, and dissemination of Defendants’ invention

promotion, patent, manufacturing, licensing and consultation services has been, and continues to

be, materially misleading and deceptive to members of the Class and to Plaintiffs in material

respects.



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       148.    The implementation, publication, and dissemination of Defendants’ invention

promotion, patent, manufacturing, licensing and consultation services are directed toward

consumers and has a broad negative impact on the general public, including Plaintiffs and

members of the Class.

       149.    Plaintiffs and Class Members have been injured by reason of being deceived by

Defendants into paying Defendants for purported services that Defendants did not (and did not

intend to) provide.

       150.    Defendants’ deceptive practices were and are consumer-oriented. Defendants

advertise via television commercials and internet web pages, among other things, thereby

deceiving and attracting large numbers of consumers.

       151.    Defendants’ material misrepresentations were and are substantially uniform in

content, presentation and impact upon consumers at large.

       152.    Plaintiff and other members of the Class entered into agreements with Defendants

herein and suffered ascertainable loss as a direct and proximate result of Defendants’ actions.

       153.    Defendants’ misconduct described herein was intentional, willful, malicious, and

in blatant disregard of, or grossly negligent and reckless with respect to, Plaintiffs and the other

members of the Class. Defendants are therefore additionally liable for treble and punitive

damages, in an amount to be determined at trial, as well as attorneys’ fees and costs.




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                                       COUNT III
                                 Against All Defendants
 (Violation of Pennsylvania Telemarketer Registration Act, 73 Pa. Cons. Stat. Ann. 2241, et
                                          seq.)

       154.     Plaintiffs reallege and incorporate herein by reference each and every foregoing

paragraph of this Complaint as if set forth in full.

       155.     Pennsylvania’ Telemarketer Registration Act (Pa TRA) prohibits “sellers” or

“telemarketers” engaged in telemarketing from engaging in any deceptive or abuse telemarketing

acts or practices in violation of the Telemarketing Sales Rule, 16 C.F.R. Part 310. 73 Pa. Cons.

Stat. Ann. 2245(a)(9).

       156.     Defendants’ acts and practices are deceptive telemarketing acts or practices that

violation Section 310.3(a)(4) of the Telemarketing Sales Rule; therefore, Defendants are engaged

in deceptive and abusive telemarketing acts in violation of the Pa TRA, thereby violating sub-

clause (xxi) of the UTPCPL. 73 Pa. Cons. Stat. Ann. 201-2(4)(xxi).

       157.     Plaintiff and Class Members reasonably and justifiably relied on Defendants’

deceptive, misleading or false advertising in purchasing Defendants’ purported goods and

services.

       158.     Defendants’ violations have caused Plaintiff and Class Members to suffer injury

including paying Defendants for purported goods and services that Defendants did not (and did

not intend to) provide.

       159.     Defendants willfully and knowingly engaged in the conduct described above.

       160.     Plaintiffs are entitled to damages, including treble and punitive damages,

injunctive relief, and attorneys’ fees




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                                                COUNT IV
                                           Against All Defendants
                                                   (Fraud)
          161.    Plaintiffs reallege and incorporate herein by reference each and every foregoing

paragraph of this Complaint as if set forth in full.

       162.      Fraud permeates all of the dealings and contracts between Class Plaintiffs and all

Defendants herein, from start to finish.

       163.      The agreements and contracts signed by Class Plaintiffs are part and parcel of a

grand fraudulent scheme perpetrated by Defendants.

       164.      Defendants made and continue to make false and fraudulent statements, false

promises, misleading representations, and omitting material facts to Plaintiff and Class members

pertaining to the uniqueness, patentability, and profitability, among other things, of their

inventions, as set forth above. These representations are part of Defendants’ overall business

practices and are substantially similar and uniform.

       165.      As set forth infra, throughout the course of dealings between Plaintiffs and

Defendants, Defendants make many blatant misrepresentations and omissions of present fact,

including that certain external companies are interested in Plaintiffs’ inventions, when those

companies do not exist or have not in fact expressed interest; that Defendants have strong

relationships with “Data Bank” companies; that Defendants have never seen items similar to

Plaintiffs’ inventions; that Defendants believe that consumers’ proposed inventions are likely to

make a profit; among other things.




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       166.    Defendants fraudulently misrepresent the actual content of the contracts between

Defendants and Class Plaintiffs, thereby tricking Class Plaintiffs into signing documents that

state different terms and conditions than those represented by Defendants.

       167.    Defendants also falsely represent verbally that their services will likely result in

financial gain for consumers in order to induce Plaintiffs to sign the various contracts at issue,

when, in truth and in fact, Defendants do not believe this to be the case, and, upon information

and belief, Defendants have often seen these very same inventions before.

       168.    Defendants falsely represent that they will undertake certain services on

consumers’ behalf, including but not limited to marketing and promotion of Plaintiffs’ proposed

inventions. In truth and in fact, Defendants do none of these things.

       169.    Defendants falsely represent themselves to be independent companies, but they

are part and parcel of a single, grand scheme.

       170.    Defendants made many other material misrepresentations to and concealed or

suppressed material facts from Class Plaintiffs.

       171.    Defendants knew or believed these material misrepresentations and omissions to

be false, or made them with reckless regard for the truth.

       172.    Defendants misrepresented, concealed or suppressed these facts with the intent to

defraud Class Plaintiffs inducing them to purchase Defendants’ services and goods.

       173.    Class Plaintiffs were reasonable in relying on Defendants’ misrepresentations and

omissions of material facts because Defendants advertised and held themselves out to be

credible, legitimate and experienced sellers of invention promotion, manufacturing, distribution,




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and other such services, and as having extensive knowledge and expertise in bringing new

inventions to fruition.

       174.    At the time Class Plaintiffs acted, they were unaware of the false, concealed and/

or suppressed facts and would not have purchased Defendants’ goods and services had they

known the true facts.

       175.    All Defendants are liable for the tortious conduct of the other Defendants, as they

(a) performed the tortious acts in concert with the others and pursuant to a common design with

them, (b) knew that the other Defendants’ conduct constituted tortious conduct and gave

substantial assistance or encouragement to the other Defendants, and (c) gave substantial

assistance to the other Defendants in accomplishing the tortious result and their own conduct,

separately considered, constituted tortious conduct towards Plaintiff and Class members.

       176.    As a direct and proximate result of Defendants’ misrepresentations and

concealment of material facts, Class Plaintiffs have suffered damages, the precise amount to be

determined at trial.

                                               COUNT V
                                         Against All Defendants
                                      (Negligent Misrepresentation)

       177.     Plaintiffs reallege and incorporate herein by reference each and every foregoing

paragraph of this Complaint as if set forth in full.

       178.    Defendants made misrepresentations and other statements in connection with their

deceptive invention promotion, patent, manufacturing, licensing and consultation services.

       179.    Defendants made these representations while in privity of contract with Plaintiffs.




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        180.    The misrepresentations were and are false, deceptive and misleading at the time

they were made.

        181.    Upon information and belief, at the time they were made, Defendants knew that

the statements were false, deceptive and misleading.

        182.    Upon information and belief, Defendants stated, disseminated, published and

advertised the misrepresentations with the intent to deceive and defraud the general public,

including Class Plaintiffs.

        183.    Class Plaintiffs were unaware of the falsity of the misrepresentations and relied

upon the misrepresentations and as a result have been defrauded out of large sums of money.

                                                COUNT VI
                                           Against All Defendants
                                            (Breach of Contract)

        184.    Plaintiffs reallege and incorporate herein by reference each and every foregoing

paragraph of this Complaint as if set forth in full.

        185.    Defendants and Plaintiffs and members of the Class entered into various

contracts, as described above.

        186.    Defendants failed to fulfill the obligations set forth in the above-referenced

contracts, thereby breaching their respective contracts with Plaintiffs, and Plaintiffs have been

damaged thereby.

        187.    Upon information and belief, Defendants executed substantially identical

contracts with all Class Plaintiffs and failed to fulfill their obligations set forth in those contracts,

damaging Class Plaintiffs.




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       188.    By reason of the foregoing, Defendants are liable to Plaintiffs and members of the

Class for the damages they have suffered as a result of Defendants’ actions, the amount of such

damages to be determined at trial, plus attorneys’ fees.

                                              COUNT VII
                                         Against All Defendants
                             (Breach of Duty of Good Faith & Fair Dealing)

        189.   Plaintiffs reallege and incorporate herein by reference each and every foregoing

paragraph of this Complaint as if set forth in full.

       190.    Every contract contains an implied covenant of good faith and fair dealing in the

performance and enforcement of the contract. The implied covenant is an independent duty and

may be breached even if there is no breach of the contract’s express terms.

       191.    Under the contracts described herein, Plaintiffs and Class Members reasonably

expected Defendants’ to carry out the covenants set forth in those contracts.

       192.    Defendants arbitrarily and unreasonably did not fulfill the various covenants set

forth in the contracts, even though they in fact represented to Plaintiffs and Class Members that

they would make best efforts to do so.

       193.    Defendants acted in bad faith.

       194.    As a result, Defendants’ are liable to Plaintiffs and Class Members for damages in

an amount to be determined at trial and attorneys’ fees.

                                              COUNT VIII
                                          Against All Defendants
                                           (Unjust Enrichment)

       195.     Plaintiffs reallege and incorporate herein by reference each and every foregoing

paragraph of this Complaint as if set forth in full.



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       196.    Defendants’ conduct as described herein allowed Defendants to knowingly realize

substantial revenues from selling their goods and services at the expense of, and to the detriment

or impoverishment of, Class Plaintiffs, and to Defendants’ benefit and enrichment. Defendants

have thereby violated fundamental principles of justice, equity and good conscience.

       197.    Class Plaintiffs conferred significant financial benefits and paid substantial

compensation to Defendants.

       198.    It is inequitable for Defendants to retain the benefits conferred by Class Plaintiffs.

       199.    By reason of the foregoing, Defendants are liable to Plaintiffs and members of the

Class for the damages they suffered as a result of Defendants’ actions, the amount of which shall

be determined at trial, plus attorneys’ fees.

                                            COUNT IX
                  Against Attorney Frost, John Doe Defendants and Intromark, Inc.
                                    (Breach of Fiduciary Duty)

       200.     Plaintiffs reallege and incorporate herein by reference each and every foregoing

paragraph of this Complaint as if set forth in full.

       201.     Defendant Frost and Intromark owe Class Plaintiffs fiduciary duties, including

advising and acting in Class Plaintiffs’ best interests.

       202.    Upon information and belief, along with Defendant Frost, there are several

attorneys and/or law firms located throughout the United States (John Doe Defendants) with

whom Defendants contract to provide services to Class Plaintiffs, under the guise that these

defendants are independent and impartial. (Collectively, the “Attorney Defendants”).

       203.    The Attorney Defendants breached their fiduciary duties of care by, among other

things, advising Class Plaintiffs to apply for utility patents even though Defendants were aware



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that Class Plaintiffs’ idea were not suitable for utility patents for various reasons. Defendants

also had first-hand knowledge of hundreds of customers, referred by InventHelp who did not

receive utility patents and complained that InventHelp is a fraud. Yet, Defendants informed

Class Plaintiffs of none of these facts and instead advised them to apply for utility patents.

          204.    Pursuant to contracts between the parties, Defendant Intromark Inc. agreed to act

in Plaintiffs’ best interests and was given the exclusive right “to negotiate, and to execute

contracts on [Class Members’] behalf . . . .” Upon information and belief, Intromark defrauded

Class Plaintiffs by falsely representing that companies were interested in Class Plaintiffs’

proposed inventions, when, in truth and in fact, no such companies expressed any interest and/or

even existed.

          205.    Class Plaintiffs have been damaged by Defendants’ breach of their fiduciary

duties.

                                                JURY DEMAND

          Plaintiff demands a trial by jury on all issues so triable.

          WHEREFORE, Plaintiffs, on behalf themselves and the Class, pray that the Court:

          (a) Issue an Order certifying the Class as defined above, appointing the Plaintiffs as Class

              Representatives, and designating their Attorneys as Class Counsel;

          (b) Find that Defendants have committed the violations of statutory and common law

              alleged herein;

          (c) Enter an Order granting monetary relief, including treble and punitive damages on

              behalf of the Class in an amount at least $36,000,000.00, the precise amount of which

              is to be determined at trial;



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       (d) Enter an Order granting monetary relief, including compensatory damages on behalf

           of the Class in an amount of at least $72,000,000.00, the precise amount of which is

           to be determined at trial;

       (e) Enter an Order rescinding the various contracts described herein;

       (f) Determine that Defendants have been unjustly enriched as a result of their wrongful

           conduct, and enter an appropriate Order awarding restitution and monetary damages;

       (g) Enter an Order granting all appropriate relief on behalf of the Class under the

           applicable state statutory and common laws;

       (h) Enter judgment including interest, costs, reasonable attorneys’ fees, and expenses;

       (i) Entering preliminary and permanent injunctive relief against Defendants, directing

           Defendants to correct their practices and to comply with New York consumer

           protection laws; and

       (j) Granting such other and further relief as the Court may deem just and proper.


                                                     Respectfully Submitted,


Dated: June 1, 2018                                  LEVAN LEGAL LLC

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